Case 2:19-cv-00271-SPC-MRM Document 25 Filed 04/20/21 Page 1 of 2 PageID 153
          USCA11 Case: 20-14588 Date
                                 (2 ofFiled:
                                       2) 04/20/2021 Page: 1 of 1


                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT
                                  ________________________

                                       No. 20-14588-C
                                  ________________________

NORRIS WILLIAMS,

                                                                             Petitioner-Appellant,

                                               versus

UNITED STATES OF AMERICA,

                                                                            Respondent-Appellee.
                                  ________________________

                           Appeal from the United States District Court
                               for the Middle District of Florida
                                 ________________________

ORDER:

       To merit a certificate of appealability, Norris Williams must show that reasonable jurists

would find debatable both (1) the merits of an underlying claim, and (2) the procedural issues that

he seeks to raise. See 28 U.S.C. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 484 (2000).

Because Williams has failed to make the requisite showing, his motion for a certificate of

appealability is DENIED.

                                                              in forma pauperis is DENIED AS

MOOT.



                                                                 /s/ Charles R. Wilson
                                                            UNITED STATES CIRCUIT JUDGE
Case 2:19-cv-00271-SPC-MRM Document 25 Filed 04/20/21 Page 2 of 2 PageID 154
          USCA11 Case: 20-14588 Date
                                 (1 ofFiled:
                                       2) 04/20/2021 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                         April 20, 2021

Clerk - Middle District of Florida
U.S. District Court
U.S. Courthouse and Federal Building
2110 1ST ST
FORT MYERS, FL 33901

Appeal Number: 20-14588-C
Case Style: Norris Williams v. USA
District Court Docket No: 2:19-cv-00271-SPC-MRM
Secondary Case Number: 2:15-cr-00149-SPC-MRM-1

The enclosed copy of this Court's order denying the application for a Certificate of
Appealability is issued as the mandate of this court. See 11th Cir. R. 41-4. Counsel and pro se
parties are advised that pursuant to 11th Cir. R. 27-2, "a motion to reconsider, vacate, or modify
an order must be filed within 21 days of the entry of such order. No additional time shall be
allowed for mailing."

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Walter Pollard, C/gmp
Phone #: (404) 335-6186

Enclosure(s)

                                                              DIS-4 Multi-purpose dismissal letter
